             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF FLORIDA

WALT DISNEY PARKS AND RESORTS,
U.S., INC.,
                   Plaintiff,

     v.

RONALD D. DESANTIS, in his official
                                           Case No. 4:23-cv-00163-AW-MJF
capacity as Governor of Florida;
MEREDITH IVEY, in her official capacity
as Acting Secretary of the Florida
Department of Economic Opportunity;
MARTIN GARCIA, in his official capacity
as Board Chair of the Central Florida
Tourism Oversight District; MICHAEL
SASSO, in his official capacity as Board
Member of the Central Florida Tourism
Oversight District; BRIAN AUNGST, JR.,
in his official capacity as Board Member
of the Central Florida Tourism Oversight
District; RON PERI, in his official
capacity as Board Member of the Central
Florida Tourism Oversight District;
BRIDGET ZIEGLER, in her official
capacity as Board Member of the Central
Florida Tourism Oversight District; and
GLENTON GILZEAN, JR., in his official
capacity as Administrator of the Central
Florida Tourism Oversight District,

     Defendants.


 PLAINTIFF’S OPPOSITION TO STATE DEFENDANTS’ MOTION TO
                         DISMISS
                                        TABLE OF CONTENTS
                                                                                                               Page
INTRODUCTION .................................................................................................... 1
LEGAL STANDARD ............................................................................................... 4
ARGUMENT ............................................................................................................ 5
I.       DISNEY HAS STANDING TO SUE THE STATE DEFENDANTS
         ACTING IN THEIR OFFICIAL CAPACITIES TO EXECUTE THE
         CHALLENGED LAWS ................................................................................. 5
         A.       The State Defendants Are Responsible For Implementing The
                  Laws That Reorganize The District And Strip Disney Of Voting
                  Rights And Other Benefits On Unlawful Grounds .............................. 7
         1.       Governor DeSantis Has A Direct Role In Implementing The
                  Unconstitutional Restructuring Of The District ................................... 7
         2.       Secretary Ivey Also Has A Direct Role In Implementing The
                  Unconstitutional Restructuring Of The District’s Governance .........11
         B.       The State Defendants Are Responsible For Implementing The
                  Unlawful Abrogation Of Disney’s Contracts .....................................14
II.      DISNEY’S CLAIMS ARE NOT BARRED BY SOVEREIGN
         IMMUNITY .................................................................................................16
III.     DISNEY’S CLAIMS AGAINST GOVERNOR DESANTIS ARE
         NOT BARRED BY LEGISLATIVE IMMUNITY .....................................17
IV.      THE FAC STATES A CLAIM AS TO EACH OF THE
         CONSTITUTIONAL VIOLATIONS ASSERTED .....................................20
CONCLUSION .......................................................................................................20




                                                           i
                                     TABLE OF AUTHORITIES
                                                                                                           Page(s)
Cases
303 Creative LLC v. Elenis,
  143 S. Ct. 2298 (2023) .......................................................................................1, 2
Ashcroft v. Iqbal,
  556 U.S. 662 (2009) ...............................................................................................4
Bd. of Educ. of Kiryas Joel Vill. School Dist. v. Grumet,
  512 U.S. 687 (1994) ...............................................................................................9
Bd. of Pub. Educ. for City of Savannah & Cnty. of Chatham v. Georgia,
  1990 WL 608208 (S.D. Ga. 1990) .......................................................................12
Bogan v. Scott-Harris,
  523 U.S. 44 (1998) ...............................................................................................18
Citizens State Bank v. Dixie Cnty.,
  2011 WL 1335805 (N.D. Fla. 2011) ......................................................................4
Citizens United v. Fed. Election Comm’n,
  558 U.S. 310 (2010) ...............................................................................................2
City of S. Miami v. Governor of Fla.,
  65 F.4th 631 (11th Cir. 2023) .................................................................................8
Crymes v. DeKalb County,
  923 F.2d 1482 (11th Cir. 1991) ............................................................................18
Culinary Workers Union, Loc. 226 v. Del Papa,
 200 F.3d 614 (9th Cir. 1999) ................................................................................15
Curling v. Sec’y of Ga.,
 761 F. App’x 927 (11th Cir. 2019) .......................................................................19
Denton v. Bd. of Governors,
 No. 4:22-cv-00341-RH-MAF, ECF No. 65 (N.D. Fla. 2023)................................8
Dream Defs. v. Governor of Fla.,
 57 F.4th 879 (11th Cir. 2023) .............................................................................5, 6
Dykes v. Dudek,
 2011 WL 4552395 (N.D. Fla. 2011) ......................................................................5
Equality Fla. v. Fla. State Bd. of Educ.,
  2022 WL 19263602 (N.D. Fla. 2022) ....................................................................8



                                                          ii
                                    TABLE OF AUTHORITIES
                                          (Continued)
                                                                                                          Page(s)
Espanola Way Corp. v. Meyerson,
  690 F.2d 827 (11th Cir. 1982) ..............................................................................18
Falls v. DeSantis,
  2022 WL 19333278 (N.D. Fla. 2022) ..................................................................17
Finberg v. Sullivan,
  634 F.2d 50 (3d Cir. 1980) ...................................................................................12
Ga. Latino All. for Human Rts. v. Governor of Ga.,
 691 F.3d 1250 (11th Cir. 2012) ........................................................................5, 15
Grizzle v. Kemp,
 634 F.3d 1314 (11th Cir. 2011) ............................................................................17
Hamilton v. Hall,
 790 F. Supp. 2d 1368 (N.D. Fla. 2011) ..................................................................4
Hurley v. Irish-American Gay, Lesbian & Bisexual Grp. of Bos.,
 515 U. S. 557 (1995) ..............................................................................................1
Jacobson v. Fla. Sec’y of State,
  974 F.3d 1236 (11th Cir. 2020) ............................................................................13
Kilbourn v. Thompson,
  103 U.S. 168 (1880) ...................................................................................... 13, 19
Los Angeles County Bar Association v. Eu,
  979 F.2d 697 (9th Cir. 1992) ..................................................................................9
Luckey v. Harris,
  860 F.2d 1012 (11th Cir. 1988) ..................................................................... 15, 17
Peter B. v. Sanford,
  2010 WL 5684397 (D.S.C. 2010) ..........................................................................8
Scott v. Taylor,
  405 F.3d 1251 (11th Cir. 2005) ..................................................................... 19, 20
Socialist Workers Party v. Leahy,
  145 F.3d 1240 (11th Cir. 1998) ..............................................................................5
State Emps. Bargaining Agent Coal. v. Rowland,
  494 F.3d 71 (2d Cir. 2007) ...................................................................................18



                                                         iii
                                      TABLE OF AUTHORITIES
                                            (Continued)
                                                                                                              Page(s)
Support Working Animals, Inc. v. Governor of Fla.,
  8 F.4th 1198 (11th Cir. 2021) .................................................................................6
Supreme Court of Virginia v. Consumers Union of the United States, Inc.,
  446 U.S. 719 (1980) .............................................................................................19
Tellabs, Inc. v. Makor Issues & Rts., Ltd.,
  551 U.S. 308 (2007) ...............................................................................................4
Tenney v. Brandhove,
  341 U.S. 367 (1951) .............................................................................................18
Turner Broad. Sys., Inc. v. F.C.C.,
  512 U.S. 622 (1994) ...............................................................................................1
United States v. Brewster,
 408 U.S. 501 (1972) .............................................................................................18
W. Va. State Bd. of Educ. v. Barnette,
 319 U.S. 624 (1943) ...............................................................................................1
Whole Woman’s Health v. Jackson,
 142 S. Ct. 522 (2021) .................................................................................... 13, 14
Woods v. Gamel,
 132 F.3d 1417 (11th Cir. 1999) ............................................................................18

Statutes
Fla. Stat. § 189.01 ....................................................................................................11
Fla. Stat. § 189.012. .................................................................................................11
Fla. Stat. § 189.016 ................................................................................................. 11
Fla. Stat. § 189.019 ..................................................................................................11
Fla. Stat. § 189.061. .................................................................................................11
Fla. Stat. § 189.062. .................................................................................................11
Fla. Stat. § 189.063. .................................................................................................11
Fla. Stat. § 189.064. .................................................................................................11
Fla. Stat. § 189.065. .................................................................................................11
Fla. Stat. § 189.066. .................................................................................................11

                                                           iv
                                      TABLE OF AUTHORITIES
                                            (Continued)
                                                                                                             Page(s)


Fla. Stat. § 189.067. .................................................................................................11
Fla. Stat. § 189.069. .................................................................................................11




                                                           v
                                 INTRODUCTION

      “If there is any fixed star in our constitutional constellation, it is that no

official, high or petty, can prescribe what shall be orthodox in politics, nationalism,

religion, or other matters of opinion or force citizens to confess by word or act

their faith therein.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642

(1943). “Our political system and cultural life rest upon this ideal.” Turner Broad.

Sys., Inc. v. F.C.C., 512 U.S. 622, 641 (1994). Laws that “stifle[] speech on

account of its message, or that require[] the utterance of a particular message

favored by the Government, contravene[] this essential right” and “pose the

inherent risk that the Government seeks not to advance a legitimate regulatory

goal, but to suppress unpopular ideas or information or manipulate the public

debate through coercion rather than persuasion.” Id. This uniquely American

commitment to free expression is embodied in the Constitution’s First

Amendment, which “protects an individual’s right to speak his mind” even if “the

government considers his speech . . . deeply misguided.” 303 Creative LLC v.

Elenis, 143 S. Ct. 2298, 2312 (2023) (quoting Hurley v. Irish-American Gay,

Lesbian & Bisexual Grp. of Bos., 515 U. S. 557, 574 (1995)).

      These foundational principles apply fully to political speech by businesses.

“Corporations and other associations, like individuals, contribute to the discussion,

debate, and the dissemination of information and ideas that the First Amendment


                                           1
seeks to foster.” Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 343

(2010) (quotation omitted). Speakers thus do not “shed their First Amendment

protections by employing the corporate form to disseminate their speech.” 303

Creative, 143 S. Ct. at 2316.

      Governor DeSantis disagrees. In his view, corporations must remain

“merely economic actors,” and when they dare to “become political” and seek to

“advance a political agenda” that does not conform to the ruling party’s program,

government leaders are free to “fight back” by wielding official state power against

disobedient companies until their disfavored views “die.” First Amended

Complaint for Declaratory and Injunctive Relief ¶ 99, ECF No. 25 (“FAC”); see id.

¶¶ 56-57, 59-60, 65, 67-69, 74, 81, 82, 97, 99, 100, 168-169, 173-174, 207.

Disney, of course, has been the central target of the Governor’s weaponized

State—a retaliatory campaign he launched because, the Governor’s memoir

declares, Disney “crossed a line” by expressing the wrong view in a political

debate, which he viewed as a “textbook example of when a corporation should stay

out of politics.” FAC ¶¶ 69, 100.

      This case presents the fundamental question whether the Governor and the

State can escape accountability for their open defiance of our Nation’s most

cherished liberties. The core merits of that question are presented by the CFTOD

Defendants’ motion to dismiss (joined by the State Defendants). In the State


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Defendants’ separate motion that is addressed here, the Governor seeks to evade

responsibility for his actions on a narrower ground, asserting that a governor

cannot be held officially liable for implementing, administering, and enforcing

state laws that punish residents for political statements violating a state-prescribed

speech code. The motion seeks dismissal on Article III standing, sovereign-

immunity, and legislative-immunity grounds, but those principles have no

application here.

      Courts have consistently held that a plaintiff claiming constitutional injury

from a state law may properly proceed in federal court against state executive

officers responsible for implementing, administering, or enforcing the law. Article

III and official-capacity requirements are satisfied in such suits because the injury

is traceable to those executive acts and redressable by a judicial order enjoining

their performance. Legislative immunity has no bearing in such suits because it is

categorically inapplicable to executive acts.

      Those principles compel denial of the State Defendants’ motion. The State

Defendants do not dispute that the challenged laws have caused Disney multiple

concrete injuries, including the elimination of its voting rights, abrogation of its

contract rights, and chilling of its constitutional right to speak freely on matters of

public concern. Those injuries in turn give rise to claims challenging the

reorganization of the District (i.e., the replacement of Reedy Creek Improvement


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District with the Central Florida Tourism Oversight District (“CFTOD”) through

SB 4C and HB 9B), and claims challenging the laws abrogating the economic

development contracts (“Contracts”) Disney entered with the District before its

reorganization. As explained in this memorandum, both sets of claims implicate

the State Defendants’ executive responsibilities under the challenged laws,

establishing Disney’s standing and defeating the State Defendants’ immunity

claims.

      The motion should be denied.

                                LEGAL STANDARD

      On a motion to dismiss under Rule 12(b)(6), “the court accepts all factual

allegations of the complaint as true and construes them in the light most favorable

to the plaintiff.” Hamilton v. Hall, 790 F. Supp. 2d 1368, 1370 (N.D. Fla. 2011).

“The motion is properly denied if the complaint contains sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Id. (citing

Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009)) (quotations and brackets omitted). In

ruling on the motion, courts consider “the complaint, any exhibits attached to the

complaint, documents incorporated into the complaint by reference, and matters of

which a court may take judicial notice.” Citizens State Bank v. Dixie Cnty., 2011

WL 1335805, at *3 (N.D. Fla. 2011) (quoting Tellabs, Inc. v. Makor Issues & Rts.,

Ltd., 551 U.S. 308, 322 (2007) (quotations omitted)).


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      Similarly, in a jurisdictional challenge under Rule 12(b)(1), the Court

“examines whether the complaint has sufficiently alleged subject-matter

jurisdiction and construes the complaint in the light most favorable to Plaintiff[]

and accepts all facts alleged in the complaint as true.” Dykes v. Dudek, 2011 WL

4552395, at *1 (N.D. Fla. 2011).

                                     ARGUMENT

I.    DISNEY HAS STANDING TO SUE THE STATE DEFENDANTS
      ACTING IN THEIR OFFICIAL CAPACITIES TO EXECUTE THE
      CHALLENGED LAWS

      To establish Article III standing to sue a state officer in his official capacity,

a plaintiff must establish (1) an injury-in-fact, that is (2) traceable to the officer’s

execution of the challenged law, and that (3) can be redressed by an order

enjoining continued execution. See, e.g., Dream Defs. v. Governor of Fla., 57

F.4th 879, 888-89 (11th Cir. 2023); Ga. Latino All. for Human Rts. v. Governor of

Ga., 691 F.3d 1250, 1257 (11th Cir. 2012); Socialist Workers Party v. Leahy, 145

F.3d 1240, 1244 (11th Cir. 1998). The State Defendants do not dispute that the

challenged laws have caused Disney multiple concrete injuries, including the

elimination of its voting and contract rights and the chilling of its constitutional

right to express political views that do not conform to State-approved doctrine.1


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       In public comments, the Governor asserts that the laws simply make
Disney subject to the same regulatory structure applicable to other Florida
businesses, thereby creating a “level playing field.” That contention is an outright

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The State Defendants raise only the latter two standing requirements—

“traceability” and “redressability.”

      “To establish traceability and redressability in a lawsuit seeking to enjoin a

government official from enforcing [an allegedly unconstitutional] law, a plaintiff

must show ‘that the official has the authority to enforce the particular provision

[being] challenged, such that [the] injunction prohibiting enforcement would be

effectual.’” Dream Defs., 57 F.4th at 888-89 (quoting Support Working Animals,

Inc. v. Governor of Fla., 8 F.4th 1198, 2001 (11th Cir. 2021)) (first alteration

added); see State Defs.’ Mot. to Dismiss and Incorporated Mem. of Law at 13,

ECF No. 49 (“State Defs.’ Mem.”). None of the Defendants denies that the

CFTOD Defendants have the kind of responsibilities under the challenged laws

that make Disney’s injuries both traceable to them and redressable by a judicial

order declaring the laws invalid and enjoining their operations under those laws.




falsehood. Most businesses and other property owners in Florida are regulated by
elected, politically-accountable municipal bodies. Few Florida businesses are
subject, as Disney now is, to governance by a special district with a Governor-
controlled Board that closely regulates the use of private property with no
accountability to local property owners and taxpayers. In any event, what matters
here is that the challenged laws indisputably eliminate Disney’s rights and impose
new burdens, thereby creating an injury-in-fact.

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The State Defendants argue only that Disney lacks standing to assert its claims

against the State Defendants in particular.2

      That argument is incorrect. As explained below, Disney’s constitutional

injuries are directly traceable to the State Defendants’ executive duties under the

challenged laws, and they would be redressed by an order declaring the laws

unconstitutional and enjoining their continued execution.

      A.     The State Defendants Are Responsible For Implementing The
             Laws That Reorganize The District And Strip Disney Of Voting
             Rights And Other Benefits On Unlawful Grounds

      The State Defendants’ standing objection to the reorganization claim rests

on a mischaracterization of the State Defendants’ responsibilities to implement SB

4C and HB 9B.

      1.     Governor DeSantis Has A Direct Role In Implementing The
             Unconstitutional Restructuring Of The District

      The Governor contends that his authority to appoint the District’s Board

does not make Disney’s injuries traceable to his actions or redressable by an order

enjoining those actions. State Defs.’ Mem. 17. The Governor is wrong in two

respects.

      First, an officer’s appointment power does suffice, where—as here—the

exercise of that power itself causes the plaintiff’s injury. In the “appointment-


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        The CFTOD Defendants assert no standing or other jurisdictional
objections to suit.

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power-only” cases cited by the State Defendants, Mem. 17 & n.10, the injuries and

claims arose solely from the actions of the relevant state agency, and the only

alleged connection to the governor was his power to appoint agency officials. See

Equality Fla. v. Fla. State Bd. of Educ., 2022 WL 19263602, at *8 n.8 (N.D. Fla.

2022); Peter B. v. Sanford, 2010 WL 5684397, at *3 (D.S.C. 2010); Denton v. Bd.

of Governors, No. 4:22-cv-00341-RH-MAF, ECF No. 65 at 1, 3-4 (N.D. Fla.

2023); see also City of S. Miami v. Governor of Fla., 65 F.4th 631 (11th Cir. 2023)

(same). By contrast, Disney’s reorganization claim challenges not only the

District’s actions, but also the governing structure of the District Board itself,

including the statutory provision making all Board members Governor-appointed

rather than landowner-elected. According to Disney, HB 9B’s reorganization of

the District violated Disney’s First Amendment rights because, among other

things, it stripped Disney of its longstanding District voting rights for

impermissible and discriminatory reasons, replacing the locally-elected Board with

a new Board appointed by the Governor and accountable only to him, rather than

to District landowners. Disney thus alleges not only that the District Board has

taken unlawful actions injuring Disney, but also that the Governor’s appointment

of Board members violates Disney’s rights.

      To be clear, Disney’s claim is not that the U.S. Constitution prohibits a state

from establishing special districts with governor-appointed boards. The


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Constitution does, however, prohibit states from allocating government benefits

and burdens on impermissible bases, including race, religion, and political

viewpoint. In other words, Florida cannot decide which rights and privileges to

confer on special districts based on their residents’ political viewpoints—just as it

could not do so based on their residents’ race or religion. See, e.g., Bd. of Educ. of

Kiryas Joel Vill. School Dist. v. Grumet, 512 U.S. 687 (1994) (state violated First

Amendment’s religious neutrality command by creating special school district

along lines of particular religious community). Because the Governor’s

appointments implement the allegedly unlawful scheme eliminating District voting

rights and local control in favor of a Governor-controlled “state receivership,”

FAC ¶ 98, a challenge to those appointments properly names the Governor in his

official capacity.

      This case is similar to Los Angeles County Bar Association v. Eu, 979 F.2d

697 (9th Cir. 1992), where the plaintiff challenged a statute prescribing the number

of judges on the Superior Court for Los Angeles County. Id. at 699. The plaintiff

sued various state officers including the governor, who sought to be dismissed on

the ground that he lacked a sufficient enforcement connection to the statute. Id. at

704. The Ninth Circuit disagreed, explaining that because the governor had “a

duty to appoint judges to any newly-created judicial positions,” the allegedly

unlawful statute was “being given effect by” him. Id. The same is true here.


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      Second, and in any event, the Governor’s connection to the reconstituted

District Board is not limited to appointment and suspension of its members. The

FAC alleges—based on many explicit public statements—that the Governor is

affirmatively using the Board to punish Disney by imposing various new burdens

and costs, as retaliation for its political speech. FAC ¶ 88 (Board is “state-

controlled”); ¶ 95 (Governor boasting that he is “new sheriff in town” to regulate

Disney); ¶ 98 (Governor spokesperson stating that HB 9B places District into

“state receivership”); ¶ 147 (Governor proposing “prison” and other potential uses

for District land adjacent to Disney); ¶ 150 (Governor announcing that Board

would take “additional actions” to increase Disney’s burdens).

      This case thus again differs from cases holding that the appointment power

alone cannot satisfy standing’s traceability requirement. Unlike the plaintiffs in

those cases, Disney plausibly alleges that the Governor himself is using the

District—either directly, or indirectly through his appointment and suspension

powers—to implement his oft-declared goal of punishing Disney because it

expressed a disfavored political viewpoint. By announcing that the District

henceforth would be “state-controlled” and a “state receivership,” the Governor

and his allies made clear that the Governor—the self-proclaimed “new sheriff in

town”—would be functionally in charge of the new weaponized bureaucracy.




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      2.     Secretary Ivey Also Has A Direct Role In Implementing The
             Unconstitutional Restructuring Of The District’s Governance
      The State Defendants also contend that Meredith Ivey, Acting Secretary of

the Florida Department of Economic Opportunity, lacks any relevant responsibility

with respect to the dissolution and restructuring of the District. According to the

State Defendants, her only connection to this litigation is her duty to “maintain the

Official List of Special Districts,” which they say is a “ministerial duty” that does

not establish traceability or redressability. State Defs.’ Mem. 13, 17. Once again,

they err on both fronts.

      At the outset, the parties agree that the Secretary is charged with maintaining

the Official List of Special Districts (the “Official List”), which includes all special

districts in Florida. Id.; FAC ¶ 22 (citing Fla. Stat. §§ 189.061(1)(a), (2),

189.012(1)). The State Defendants concede that municipalities and special

districts exist only by virtue of the State, State Defs.’ Mem. 4, and the Secretary is

in charge of overseeing that relationship. See Special District Accountability Act,

Fla. Stat. § 189.01 et seq. The “Official List” is not merely a “list” in the

colloquial sense; by formally recognizing special districts’ status as such, it gives

them the imprimatur of the State and also triggers myriad reporting and

qualification requirements—which the Secretary likewise oversees. See, e.g., id.

§§ 189.016, 189.019, 189.061-189.067, 189.069.




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      As already discussed, Disney’s claim in this case is that the laws

reorganizing the District violated Disney’s constitutional rights. If that claim is

correct, then the reorganized District is not a lawfully constituted special district

and cannot be properly included on the Official List. Put differently, Disney’s

constitutional injuries from the District’s reorganization are directly traceable to

the Secretary’s substantive determination that what is now called CFTOD is a valid

special district properly included on the Official List. This determination would be

redressed by a judicial order invalidating the reconstituted District and enjoining

the Secretary to remove it from that List. The Secretary accordingly is a proper

defendant in this action.

      Not only do the State Defendants err in treating the Official List as

essentially a ministerial recordkeeping nuisance, the legal premise of their

argument is wrong: even if a state officer’s duty to implement a statute is

ministerial, when performance of that duty causes injury, it establishes traceability

and redressability for purposes of standing in an official-immunity suit under Ex

parte Young. In fact, the exercise of ministerial duties is frequently the basis for

official-immunity suits. Courts “often have allowed suits to enjoin the

performance of ministerial duties in connection with allegedly unconstitutional

laws.” Finberg v. Sullivan, 634 F.2d 50, 54 (3d Cir. 1980); see Bd. of Pub. Educ.

for City of Savannah & Cnty. of Chatham v. Georgia, 1990 WL 608208, at *5


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(S.D. Ga. 1990) (“The ministerial nature of [a state officer’s] duties does not

render their connection to the unlawful act insufficient.”). In the leading case of

Kilbourn v. Thompson, 103 U.S. 168 (1880), for example, the Supreme Court held

that while the Speech and Debate Clause protected members of Congress from suit

for ordering a false arrest, the House sergeant-at-arms could be sued in his official

capacity for performing the ministerial function of executing the arrest order. Id. at

196-205. More recently, the Eleventh Circuit held that the proper defendants in a

suit challenging ballot format are the individual county Supervisors of Elections,

because they exercise the function—purely ministerial—of printing and

distributing the challenged ballots. Jacobson v. Fla. Sec’y of State, 974 F.3d 1236,

1258 (11th Cir. 2020).

      The State Defendants rely solely on Whole Woman’s Health v. Jackson, 142

S. Ct. 522 (2021), to support their contention that a state executive officer’s

performance of a ministerial duty under an allegedly unlawful statute cannot

establish traceability and redressability. Whole Woman’s Health holds no such

thing. The standing issue in that case involved a judicial employee’s performance

of the clerical duty to accept litigation filings. Id. at 532-33. The Court

emphasized that Ex parte Young itself had held that judicial officers were not

proper defendants in suits to enjoin the litigation process; Whole Women’s Health

simply extended that principle to the judicial employees who perform the


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ministerial duties necessary to initiate litigation. See id. Unlike “executive

officials,” the Court explained, court clerks—like the judges they serve—do not

enforce state laws and do not function as “adversaries” in litigation. Id. Nowhere

did the Court suggest that where, as here, the suit names an executive officer

responsible for implementing an allegedly unconstitutional law, the assertedly

ministerial nature of the officer’s duty precludes a finding that the plaintiff’s injury

is traceable to performance of the duty or redressable by a judicial order enjoining

that performance.

      B.     The State Defendants Are Responsible For Implementing The
             Unlawful Abrogation Of Disney’s Contracts

      Unlike its reorganization-based injuries, Disney’s contract-based injuries do

not arise directly from the Governor’s allegedly unlawful appointment of District

Board members. Rather, according to the FAC’s allegations—which must be

accepted as true at this stage—the Governor has been working directly with the

Board to abrogate the Contracts. As the FAC alleges, the Governor has repeatedly

touted his influence over the Board and his central role in voiding the Contracts.

FAC ¶¶ 88, 129, 130, 141, 142, 145. The Governor has also claimed ownership

over his self-proclaimed “war” with Disney, id. ¶ 100, including the attack on the

Contracts in particular. Referencing the Contracts, he declared that “come hell or

high water we’re going to make sure that policy of Florida carries the day,” “we’re

not just going to void the development agreement[s] they tried to do,” and


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“ultimately we’re going to win on every single issue involving Disney.” Id.

¶¶ 141-42 (emphases added).3

      Having demanded public credit for abrogating Disney’s Contracts, the

Governor cannot escape responsibility when called to answer for that action in

court, particularly before fact discovery is completed. See Culinary Workers

Union, Loc. 226 v. Del Papa, 200 F.3d 614, 619 (9th Cir. 1999) (attorney general’s

assertion of influence and authority supplied requisite connection with enforcement

of challenged statute); see also Ga. Latino All. for Hum. Rts. v. Governor of Ga.,

691 F.3d 1250, 1260 & n.5 (11th Cir. 2012) (rejecting governor’s standing

challenge to lawsuit presenting constitutional challenge to state statute because

“[e]ach injury is directly traceable to the passage of H.B. 87 and would be

redressed by enjoining each provision” even though governor had only “indirect[]

contact” with enforcement); Luckey v. Harris, 860 F.2d 1012, 1016 (11th Cir.

1988) (similar).



      3
        The State Defendants suggest in a footnote that CFTOD’s Legislative
Declaration voiding the Contracts “does not have freestanding legal force” and
instead “is simply a statement reflecting CFTOD’s belief” that the Contracts are
void. State Defs.’ Mem. 14 n.9. That suggestion is wrong for the reasons
explained in response to the CFTOD Defendants’ motion. See Opp. to CFTOD
Mem. 39-42.
      In any event, the State Defendants’ passing objection to the legal force of the
Legislative Declaration is a merits argument with no bearing on this standing
motion.

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      Secretary Ivey also is a proper defendant for the Contract-based claims. As

discussed above, she has direct statutory responsibility for supervising special

districts and enforcing their compliance with law. If the Court concludes that the

District’s Contracts with Disney were unconstitutionally impaired, it would be

appropriate to issue a declaration requiring the Secretary to ensure that the District

complies with its lawful and binding contractual obligations. Such an order would

be especially appropriate given that the Contracts implement the Comprehensive

Development Plan, FAC ¶¶ 120, 122, which the Secretary’s own Department of

Economic Opportunity reviewed and certified as compliant with state law on July

15, 2022, pursuant to the Department’s statutory duties, id. ¶ 47. The Secretary

now seeks to backtrack from that official certification, see CFTOD Defs.’ Mem. of

Law at 23, ECF No. 51-1, likely necessitating an order enjoining her to abide by

her own Department’s determination concerning the Comprehensive Plan

implemented by the Contracts.

II.   DISNEY’S CLAIMS ARE NOT BARRED BY SOVEREIGN
      IMMUNITY

      The State Defendants’ sovereign-immunity defenses fail for the same

reasons their standing objections fail.

      As the Supreme Court established in Ex parte Young, 209 U.S. 123 (1908), a

state’s sovereign immunity does not apply to a “suit alleging a violation of the

federal constitution against a state official in his official capacity for injunctive


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relief on a prospective basis,” because such an official-capacity suit “is not a suit

against the state, and, accordingly, does not violate the Eleventh Amendment.”

Grizzle v. Kemp, 634 F.3d 1314, 1319 (11th Cir. 2011). To satisfy Ex parte Young,

“it is sufficient that the state officer sued must, by virtue of his office, have some

connection with the unconstitutional act or conduct complained of.” Luckey v.

Harris, 860 F.2d 1012, 1015-16 (11th Cir. 1988) (internal quotation marks and

brackets omitted).

       As the State Defendants admit, the “some connection” requirement of Ex

parte Young is more lenient than the traceability and redressability requirements of

Article III. State Defs.’ Mem. 17 (citing Falls v. DeSantis, 2022 WL 19333278, at

*1 (N.D. Fla. 2022)). Accordingly, for the same reasons the State Defendants’

enforcement responsibilities make them proper defendants under Article III, they

are necessarily proper defendants under Ex parte Young as well, precluding any

assertion of sovereign immunity.

III.   DISNEY’S CLAIMS AGAINST GOVERNOR DESANTIS ARE NOT
       BARRED BY LEGISLATIVE IMMUNITY

       Governor DeSantis—but not Secretary Ivey—further contends that even if

he is otherwise a proper defendant under Article III and Ex parte Young, the claims

against him in his official capacity nevertheless should be dismissed because the

doctrine of legislative immunity precludes the Court from ordering effective relief

against him. The Governor is incorrect. As its name implies, the doctrine applies


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only to legislative acts; it has no relevance to an executive officer’s acts of

implementation and enforcement that provide the basis for official-capacity suits

under Ex parte Young.

      To assert legislative immunity against an Ex parte Young official-capacity

suit, the defendant must show that the official acts subject to injunction were

“legislative acts.” Woods v. Gamel, 132 F.3d 1417, 1419 (11th Cir. 1999).

Legislative acts are “actions taken ‘in the sphere of legitimate legislative activity,’”

Bogan v. Scott-Harris, 523 U.S. 44, 54 (1998) (citing Tenney v. Brandhove, 341

U.S. 367, 376 (1951)), i.e., those acts “necessary to preserve the integrity of the

legislative process,” United States v. Brewster, 408 U.S. 501, 517 (1972). “A

legislative act involves policy-making rather than mere administrative application

of existing policies.” Crymes v. DeKalb County, 923 F.2d 1482, 1485 (11th Cir.

1991). Legislative immunity thus applies to Ex parte Young suits only when “the

particular relief sought” would enjoin the defendant officers in their “legislative

capacities, and not in some other capacity in which they would not be entitled to

legislative immunity.” State Emps. Bargaining Agent Coal. v. Rowland, 494 F.3d

71, 89 (2d Cir. 2007) (emphasis added); see Espanola Way Corp. v. Meyerson, 690

F.2d 827, 829 (11th Cir. 1982) (“no immunity exists for actions outside the sphere

of legitimate legislative activity”).




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      Because this suit seeks to enjoin the Governor from performing executive

acts, legislative immunity does not protect him from suit. See Curling v. Sec’y of

Ga., 761 F. App’x 927, 934 (11th Cir. 2019) (“implementation and execution of a

state law and policy” does not qualify as legislative act). Courts have consistently

distinguished relief that seeks to enjoin the performance of a legislative actor’s

policymaking function from relief that seeks to enjoin an executive officer’s

performance of administration, implementation, or enforcement functions. As

noted above, the Supreme Court held in Kilbourn that the House sergeant-at-arms

could be sued to enjoin his enforcement of an allegedly improper false arrest order,

even though the House members who ordered the arrest were immune from suit

under the Speech and Debate Clause. 103 U.S. at 196-205. The Supreme Court

likewise held in Supreme Court of Virginia v. Consumers Union of the United

States, Inc., 446 U.S. 719 (1980), that while legislative immunity would preclude

an injunction compelling a state supreme court to perform the policymaking act of

repealing its state bar code, legislative immunity did not bar an injunction against

the executive function of enforcing the bar code against particular individuals. Id.

at 733-36. The Eleventh Circuit, too, has recognized that legislative immunity

does not apply to a suit seeking an injunction against “enforcement of [a]

challenged voting district and a declaration as to its legality.” Curling, 761 F.

App’x at 934 (quoting Scott v. Taylor, 405 F.3d 1251, 1256 (11th Cir. 2005)). In


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Scott, the Court held that a suit challenging electoral district lines as racially

discriminatory could not proceed against the individual legislators who voted for

the statute creating the district, but it could proceed against the Board of Elections,

which administered elections in the district. See 405 F.3d at 1256.

      The foregoing principles and precedents foreclose the application of

legislative immunity here. The Governor’s motion confuses the substantive

constitutional violation claimed—i.e., the enactment of state laws that discriminate

against Disney for expressing disfavored political viewpoints and laws that violate

its rights under the Contracts, Takings, and Due Process Clauses—with the judicial

relief sought, which focuses on the Governor’s duty to execute the challenged

laws. See supra Section I. He has no legislative immunity from an injunction

addressing the performance of those executive duties.

IV.   THE FAC STATES A CLAIM AS TO EACH OF THE
      CONSTITUTIONAL VIOLATIONS ASSERTED

      The State Defendants “adopt and incorporate the additional arguments raised

in the CFTOD Defendants’ motion to dismiss.” State Defs.’ Mem. 24. Disney

likewise adopts and incorporates the arguments in its response to the CFTOD

Defendants’ motion. For the reasons explained therein, the CFTOD Defendants’

motion lacks merit.

                                   CONCLUSION

      The State Defendants’ motion to dismiss should be denied.


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Dated: July 26, 2023                     Respectfully submitted,

ALAN SCHOENFELD                          /s/ Daniel M. Petrocelli
(pro hac vice)
New York Bar No. 4500898                 DANIEL M. PETROCELLI
WILMER CUTLER PICKERING                  (pro hac vice)
HALE AND DORR LLP                        California Bar No. 97802
7 World Trade Center                     O’MELVENY & MYERS LLP
250 Greenwich Street                     1999 Avenue of the Stars
New York, NY 10007                       Los Angeles, CA 90067
Tel. (212) 937-7294                      Tel. (310) 246-6850
alan.schoenfeld@wilmerhale.com           dpetrocelli@omm.com

ADAM COLBY LOSEY                         JONATHAN D. HACKER
LOSEY PLLC                               (pro hac vice)
Florida Bar No. 69658                    District of Columbia Bar
1420 Edgewater Drive                     No. 456553
Orlando, FL 32804                        STEPHEN D. BRODY
Tel. (407) 906-1605                      (pro hac vice)
alosey@losey.law                         District of Columbia Bar
                                         No. 459263
                                         O’MELVENY & MYERS LLP
                                         1625 Eye Street, NW
                                         Washington, DC 20006
                                         Tel. (202) 383-5285
                                         jhacker@omm.com

        Attorneys for Plaintiff Walt Disney Parks and Resorts, U.S., Inc.




                                       21
                      CERTIFICATE OF WORD COUNT

      Pursuant to Northern District of Florida Rule 7.1(F), the undersigned

counsel hereby certifies that the foregoing Plaintiff’s Opposition to the State

Defendants’ Motion to Dismiss, including body, headings, quotations, and

footnotes, and excluding those portions exempt by Local Rule 7.1(F), contains

4,537 words as measured by Microsoft Office for Word 365.


                                       Respectfully submitted,


                                       /s/ Daniel M. Petrocelli
                                       DANIEL M. PETROCELLI
